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                                  UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF TEXAS
                                       MARSHALL DIVISION

     wARNER R ECORDS, INC., et al.,
                    Plaintiffs,

             V.                                       Case No. 2:23-cv-00576-JRG-RSP

     ALTICE USA, INC., et al.,

                    Defendants.

                            DECLARATION OF PATRICIA WHEELER

            I.     I, Patricia Wheeler, am currently employed at Altice USA, Inc. ("Altice USA") in

    Long Island City, New York, as the Vice President, Legal - Employment, Labor, and Benefits. I

    have been employed by Altice USA since March 20 18. J provide this declaration in support of

    Defendants' motion to transfer this case from the Eastern District of Texas to the Eastern District

   of New York. 1 have personal knowledge of the facts set forth herein, except where noted, and, if

   called to testify, could and would competently testify thereto.

           2.      As the Vice President, Legal - Employment, Labor, and Benefits, I have personal

   knowledge about the corporate structure, operations, and litigation of Altice USA and its wholly

   owned subsidiary CSC Holdings ("CSC Hold ings" and, collectively with Altice USA, "Altice").

           3.      Altice USA is a Delaware corporation with its principal place of business at I Ct.

   Square W, Long Island City, NY 111 01.

           4.     CSC Holdings is a Delaware limited liability company with its principal place of

   business at 1111 Stewa1t Ave., Bethpage, NY I 1714.

           5.     In preparation of my declaration, I requested from Altice' s Data and Analytics team

   information regarding the number and location of Altice' s broadband subscribers. The data I
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     received reflects that, as of December 2023, Altice provides broadband services to approximately

     4,519,954 total (i.e., residential and business) subscribers across 2 1 states. This data also reflects

     that approximately 4,169,032 of these are residential subscribers and that 2,6 I9,800 of those

     residential subscribers, or 63%, are in New York, New Jersey, or Connecticut, areas that generally

     are part of the broader New York metropolitan region. I also requested data from the Data and

     Analytics team regarding the location of Altice's New York subscribers. The information that I

     received, which is dated as of December 2023, is broken down by city and county. Based on my

     review of this data, Altice has 1,695,829 total subscribers in New York and, of those, 1,050,095

     are in the Eastern District of New York. My understanding of the counties that comprise the

     Eastern District of New York is based on the following website: https://www.nyed.uscourts.gov/.

     This website reflects that the following New York counties are in the Eastern District of New

     York: Kings, Nassau, Queens, Richmond, and Suffolk. A true and correct copy of the above-

     referenced website is attached hereto as Exhibit A.

             6.        In preparation of my declaration, I also requested from the Data and Analytics team

     information regarding the location of Altice's subscribers in Texas. Like the above information

     regarding New York, this information also is dated as of December 2023, and is broken down by

     city and county. Based on my review of this data, Altice has 189,271 total subscribers in the

     counties that comprise the Eastern District of Texas. Of those, 3,439 are in the counties that

     comprise the Marshall Division. My understanding of the counties that comprise the Eastern

     District     of    Texas    and    its   divisions   is   based    on    the    following     website:

     https://www.txed.uscourts.gov/court-locator. A true and correct copy of the above-referenced

     website is attached hereto as Exhibit B.




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            7.     Altice's business, technical, and legal operations are based in its two headquarters,

    Altice USA's headquarters in Long Island City, NY, which is in Queens County, and CSC

    Holding's headquarters in Bethpage, NY, which is in Nassau County, or in nearby work fac ilities

    that also are in Nassau County. Specifically, virtually all of Altice's key executive, management,

    and operations-level personnel in customer care, products, marketing, network engineering, data,

    finance, and legal are located in these fac ilities. Further, the Shared Services team that deals with

    complaints of alleged copyright infringement and certain of Altice's actions in response is based

    in an Altice fac il ity in Jericho, NY, which also is Nassau County. In preparation of my declaration,

    I also requested from Human Resources a report regarding the number of Altice employees in New

    York. As of December 3 1, 2023, Altice employed approximately 3,890 people in New York.

           8.      Within the divisions and groups that I describe above are the following individuals

    who are the leads and/or are responsible for aspects of Altice' s processes for responding to notices

    of alleged infringement and related issues: (I) Wi lliam Heberer, SVP Legal, Altice USA, Long

    Island City, NY; (2) Michael Davis, Manager, HSD Security, Altice USA, Hicksville, NY; (3)

    Danny Holton, SVP. Business Engagement and Technology Strategy, Altice USA, Long Island

    City, NY; (4) Christine Cummings, VP, Acquisition and Base Management, Altice USA, Long

    Island City, NY; (5) David Kniffin, SVP Planning and Control, Altice USA, Bethpage, NY; (6)

    Shuvankar Roy, EVP Chief Customer Experience Officer, Altice USA , Long lsland City, NY; (7)

    Ahmed Fayed, Director, Corporate Customer Relations and Shared Services, Altice USA,

    Bethpage, NY; (8) Audrey Pinn, Director, Product Gro-wth & Value Added Services, Altice USA,

    Long Island City, NY; (9) Beth Rosenfeld, Senior Director, Executive Customer Relations, Altice

    USA, Bethpage, NY; and ( 10) Joe Foster, Director, Network Engineering, Altice USA, Bethpage,

   NY.




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            9.      It is my understanding that the following individuals are former Altice employees

     who were responsible for aspects of Altice' s processes for responding to notices of alleged

     infringement and related       issues: (1)    Robert    Egan, former Manager, Intelligence &

     Investigations/HS Data Security, Altice USA, Hicksville, NY; (2) Marian O' Hagan, former

     Director of Customer Care, Bethpage, NY; (3) Nadir Nazarov, former SVP Network Engineering,

     Altice USA, Bethpage, NY.

             I 0.    It is also my understanding that the following individuals are former Altice

     employees who left Altice in 2024: (I ) Keith Agabob, (2) Dan Drysdale, and (3) Nadir Nazarov.

     Mr. Agabob and Mr. Nazarov ended their employment on January 1, 2024 and Mr. Drysdale ended

     his employment on January 5, 2024.

             11.    Given the location of Altice' s divisions and personnel, Altice' s relevant documents

     largely are created and/or handled by individuals in these fac ilities.

             12.     In preparation of my declaration, I gathered information regarding the manner in

     which Altice' s documents are currently stored and accessed. Since mid-2021 , these documents

     have been stored with Google' s SQL and Big Query cloud services and, accordingly, are accessible

     from Altice's offices. The Google SQL servers are in Berkeley County, South Carolina, whereas

     the Google Big Query servers are dynamic and, therefore, no specific location is ascertainable.

     George Ziegler, Altice USA ' s VP, Data Warehouse Development, is the " Data Warehouse" lead

     and, in that role, is the subject matter expert on the accessibility of documents, data, and other

     information from the cloud or other sources. Mr. Ziegler works out of Altice's office in Bethpage,

     NY, which is in Nassau County. I also understand that, prior to mid-2021 , Altice' s documents

     were stored on servers in its New York facilities, including Bethpage, NY and Hicksville, NY,




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    both within Nassau County. I understand that certain documents still are on ly stored on those

    servers, including the documents from Altice's Knowledge Database.

           13.     In preparation of my declaration, I also requested from Human Resources a report

    of the number and location of Altice employees across the country. Based on my review of the

    report, I identified that Altice has employees who work at facilities of various sizes and types in

    30 states, including New York. In Texas, Altice has faci lities in Plano and Tyler, where the vast

    majority of the employees in those fac ilities work in non-senior management-level positions in

    sa les and customer support, and none of the employees in those faci lities are responsible for

    handling complaints of copyright infringement.

           14.     Altice also has retail stores around the country, including in Texas. In these

    locations, Altice provides customer support and sells products and services. The employees who

    work at these stores are not involved with the processing of complaints of copyright infringement.

    Altice' s retail stores are managed at the corporate level from Altice USA' s headquarters in Long

    Island City, New York and work faci lities in Bethpage, NY.

           15.     Like most large ISPs, Altice also has many subsidiaries, which serve different

    purposes in connection with its various products, services, and partnerships. Attached hereto as

    Exhibit C is a true and correct copy of excerpts of Altice USA ' s Form 10-K for the fiscal year

    ending December 31, 2022, which was filed on or around February 23, 2023. Altice USA 's Form

    I 0-K, Exhibit 21 lists 174 subsidiaries of Altice USA. Three of these subsidiaries are identified as

    being incorporated in Texas: Friendship Cable of Arkansas, Inc., Friendship Cable of Texas, Inc.,

    and TCA Communications, LLC. These entities do not have any involvement in the processing of

    copyright notices or other issues that I understand would be relevant in this case. Attached hereto

    as Exhibit D is a true and correct copy of results from the Texas Secretary of State, Business




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     Organizations Inquiry, which shows that each of these entities is headquartered at I Ct. Square W,

     Long Island City, NY 11101 , which is the same location as Altice USA's headquarters.



            I declare under penalty of perjury under the laws of the United States that the foregoing is

     true and correct.

            Executed on January 29, 2024




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